
10 N.Y.2d 964 (1961)
Abraham Feldman, Respondent-Appellant, et al., Plaintiffs,
v.
Selma Lashine et al., Appellants-Respondents.
Court of Appeals of the State of New York.
Argued November 14, 1961.
Decided November 30, 1961.
Sidney A. Schwartz for Bee S. Wolf, appellant-respondent.
Benjamin H. Siff for respondent-appellant.
Sidney J. Loeb and Emanuel Morgenbesser for Selma Lashine, appellant-respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order insofar as it affirms the grant of summary judgment against defendant Wolf reversed, without costs. The motion for summary judgment should be denied in all respects for the reason that triable issues are presented. Question certified answered in the negative. No opinion.
